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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00118-GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   EARSHELL HAYES,                                     DATE: February 12, 2016
     LEON CURRIE FIELDS, JR., AND                        TIME: 9:00 a.m.
15   DAVID WILLIAM DIXON,                                COURT: Hon. Garland E. Burrell, Jr.
16                                Defendants.
17

18                                               STIPULATION

19         1.      By previous order, this matter was set for status on February 12, 2016.

20         2.      By this stipulation, defendants now move to continue the status conference until March

21 25, 2016, and to exclude time between February 12, 2016, and March 25, 2016, under Local Code T4.

22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)      The government has represented that the discovery associated with this case

24         includes investigative reports and telephone records. This discovery has been either produced

25         directly to counsel and/or made available for inspection and copying.

26                 b)      Counsel for defendants desire additional time to consult with their clients to

27         review the current charges, to conduct investigation and research related to the charges, to review

28         the discovery for this matter, and to discuss potential resolutions with his/her client.


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
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 1                  c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of February 12, 2016 to March 25,

10          2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

12          of the Court’s finding that the ends of justice served by taking such action outweigh the best

13          interest of the public and the defendant in a speedy trial.

14          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

18
     Dated: February 9, 2016                                  BENJAMIN B. WAGNER
19                                                            United States Attorney
20
                                                              /s/ PAUL A. HEMESATH
21                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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23
     Dated: February 9, 2016                                  /s/ KELLY BABINEAU
24                                                            KELLY BABINEAU
25                                                            Counsel for Defendant
                                                              EARSHELL HAYES
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        2
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              Case 2:15-cr-00118-KJM Document 59 Filed 02/12/16 Page 3 of 3

     Dated: February 9, 2016                             /s/ PHILIP COZENS
 1                                                       PHILIP COZENS
                                                         Counsel for Defendant
 2
                                                         LEON CURRIE FIELDS, JR.
 3

 4 Dated: February 9, 2016                               /s/ GREGORY W. FOSTER
                                                         GREGORY W. FOSTER
 5                                                       Counsel for Defendant
                                                         DAVID WILLIAM DIXON
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 8                                          FINDINGS AND ORDER
 9         IT IS SO FOUND AND ORDERED.
10         Dated: February 11, 2016
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30    FINDINGS AND ORDER
